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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                   HON. AMIT P. MEHTA

 GOOGLE LLC,

                                Defendant.




 STATE OF COLORADO, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                   HON. AMIT P. MEHTA

 GOOGLE LLC,

                                Defendant.


      DEFENDANT’S MOTION FOR AN EXTENSION OF TIME TO OPPOSE THE
              MOTIONS FILED ON FEBRUARY 10 AND 12, 2023

       Defendant Google LLC (“Google”) respectfully moves the Court for an extension of time

to oppose the Motions filed at ECF No. 495 on February 10, 2023 and ECF No. 496 on February

12, 2023. Google proposes that it file oppositions to these two Motions on or before March 10,

2023, which reflects a 14-day extension of time to oppose the United States’ Motion and an 11-

day extension of time to oppose the Colorado Plaintiffs’ Motion. Google respectfully seeks

additional time to oppose these two Motions in light of the length of the memoranda submitted by

the United States and Colorado Plaintiffs as well as the upcoming deadline to file replies in support
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of its summary judgment and Daubert motions. The requested extension does not implicate any

other deadlines in the case schedule.

       Google sought consent from the United States and Colorado Plaintiffs to the requested

extension of time and was informed that they do not oppose the request, provided that they are

permitted to file replies in support of the Motions on or before March 24, 2023, which reflects a

7-day extension of time. Google is attaching a proposed order that incorporates their request as

well as its own.

Dated: February 15, 2023                      Respectfully submitted,

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